USCA4 Appeal: 23-1453    Doc: 57     Filed: 11/13/2023   Pg: 1 of 6




                                       No. 23-1453

                         IN THE UNITED STATES COURT OF
                        APPEALS FOR THE FOURTH CIRCUIT

                               Donna Buettner-Hartsoe, et al.
                                   Plaintiffs-Appellees,

                                             v.

                        Baltimore Lutheran High School Association,
                             d/b/a Concordia Preparatory School,
                                    Defendant-Appellant.

                    On Appeal from the United States District Court
                             for the District of Maryland
                                Case No. 1 :20-cv-03132
                         The Honorable Richard D. Bennett

          MOTION OF AMICI CURIAE CIVIL RIGHTS AND SURVIVOR
         ADVOCACY ORGANIZATIONS FOR LEAVE TO PARTICIPATE
                         IN ORAL ARGUMENT


              Pursuant to Federal Rule of Appellate Procedure 29(a)(8), amici

        curiae Civil Rights and Survivor Advocacy Organizations (“Amici”) move

        for leave to participate in oral argument. Plaintiffs-Appellees, through

        counsel, have agreed to cede five minutes of their oral argument time to

        counsel for these Amici. Defendant-Appellant consents to this relief.

              This case implicates an important question about the sweep of Title

        IX of the Education Amendments of 1972: whether it applies to schools
USCA4 Appeal: 23-1453   Doc: 57      Filed: 11/13/2023   Pg: 2 of 6




        that receive § 501(c)(3) tax benefits. As explained in their brief, Amici are

        eight civil rights and gender justice organizations that work to promote

        sex equality and safety in education. Amicus Br. at 1, ECF No. 42-1. From

        their significant expertise, Amici recognize that judicial enforcement of

        Title IX that realizes the statute’s full breadth and promise is crucial to

        protecting all students’ rights to learn and thrive in school. Id.

              Amici have brought that expertise to bear on their brief, which

        discusses the ordinary meaning of the language used in Title IX, Amicus

        Br. at 4-8, 15-20; relevant Supreme Court and Fourth Circuit precedent,

        id. at 8-15; Title IX’s structure and regulations, id. at 20-25; and Title

        IX’s legislative history, id. at 25-30, in more depth than the parties’

        briefs. The brief also discusses why Defendant-Appellant and its amici

        exaggerate Title IX’s burden on schools and ignore the costs of sexual

        violence. Id. at 30-32. Amici are well positioned to answer the Court’s

        questions about these and other matters at oral argument.

              If the Court grants this motion, the amicus brief’s primary author,

        Sean Ouellette, would present argument on behalf of Amici. Mr.

        Ouellette and his colleagues in the Students’ Civil Rights Project at

        Public Justice—a national public interest legal advocacy organization—


                                              2
USCA4 Appeal: 23-1453   Doc: 57      Filed: 11/13/2023   Pg: 3 of 6




        have extensive experience interpreting and litigating cases under Title

        IX. See, e.g., Brown v. Arizona, 82 F.4th 863 (9th Cir. 2023); Grabowski

        v. Arizona Bd. of Regents, 69 F.4th 1110 (9th Cir. 2023); Snyder-Hill v.

        Ohio State Univ., 48 F.4th 686 (6th Cir. 2022), cert. denied, 143 S. Ct.

        2659 (2022); Doe v. Fairfax Cnty. Sch. Bd., 1 F.4th 257 (4th Cir. 2021),

        cert. denied, 143 S. Ct. 442 (2022); Moss v. Pa. State Univ., No. 4:22-CV-

        529, 2023 WL 5184976 (M.D. Pa. Aug. 11, 2023); Czerwienski v. Harvard

        Univ., No. 22-CV-10202, 2023 WL 2763721 (D. Mass. Mar. 31, 2023).

              Given Amici’s expertise and extensive experience with Title IX,

        their participation in oral argument will aid the Court in deciding the

        important issue it presents about Title IX’s scope. As in their brief, Amici

        will offer a unique contribution at oral argument, with attention to the

        broader repercussions of the Court’s ruling.

              For the reasons explained above, the Court should grant Amici

        leave to participate in oral argument.



        Dated: November 13, 2023                  /s/ Sean Ouellette
                                                  Sean Ouellette
                                                  Shariful Khan
                                                  Adele Kimmel
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                                              3
USCA4 Appeal: 23-1453   Doc: 57   Filed: 11/13/2023   Pg: 4 of 6




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                                           4
USCA4 Appeal: 23-1453   Doc: 57     Filed: 11/13/2023   Pg: 5 of 6




                          CERTIFICATE OF COMPLIANCE

              This motion complies with the type-volume limitation of Federal

        Rule of Appellate Procedure 27(d)(2)(A) because it contains 453 words.

        This motion complies with the typeface requirements of Federal Rule of

        Appellate Procedure 27(d)(1)(E) because this motion has been prepared

        in a proportionally spaced typeface using Microsoft Office 365 in 14-point

        Century Schoolbook font.

              Dated: November 13, 2023           /s/ Sean Ouellette
                                                 Sean Ouellette
                                                 Counsel for Amici Curiae




                                             5
USCA4 Appeal: 23-1453   Doc: 57     Filed: 11/13/2023   Pg: 6 of 6




                             CERTIFICATE OF SERVICE

              I hereby certify that I electronically filed the foregoing with the

        Clerk of the Court for the United States Court of Appeals for the Fourth

        Circuit by using the appellate CM/ECF system on November 13, 2023.

              I certify that all participants in the case are registered CM/ECF

        users and that service will be accomplished using the appellate CM/ECF

        system.

              Dated: November 13, 2023           /s/ Sean Ouellette
                                                 Sean Ouellette
                                                 Counsel for Amici Curiae




                                             6
